Case 4:13-CV-OO496-RP-T.]S Document 4 Filed 01/13/14 Page 1 of 2

UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF IOWA

 

CENTRAL DIVISION
WENDY NORING, Case No. 4:13-cV-496
Plaintiff,
vs.
JO]NT STIPULATION OF DISMl[SSAL
H&R Accounts, lnc., WITH PREJU])ICE
Defendant.

 

 

COME NOW the parties and hereby stipulate to the dismissal With prejudice of all

claims, pursuant to Federal Rule of Civil Procedure 41 and Local Rule 41, Without any costs to

any party.

/s/ Ray Johnson /s/ Benjamin P. Roach

JOHNSON LAW FIRM NYEMASTER GOODE, P.C.

950 Oflice PaIk Road, Suite 221 700 Walnut Street, Suite 1600
West Des Moines, IA 50265 Des Moines, IA 503 09
Telephone: 515-224-7090 Telephone: 515-283-3100
Facsimile: 515-222-2656 Facsimile: 515-283-3108

E-Mail: Johnsonlaw29@aol.corn E-Mail: bnroach@nvemaster.corn

 

ATTORNEY FOR PLAINTIFF ATTORNEYS FOR DEFENDANT

Case 4:13-cV-OO496-RP-T.]S Document 4 Filed 01/13/14 Page 2 of 2

CERTIFICATE OF SERVICE

I hereby certify that on January 13, 2014, I electronically filed the foregoing With the
Clerk of the Court using the ECF system Which Will send notification of such filing to the
following:

Ray Johnson

Johnson LaW Firm

950 Office Park Road, Suite 221
West Des Moines, IA 50265
Telephone: 515-224-7090
Facsimile: 515-222-2656

Johnsonlaw29@aol.com

ATTORNEY FOR PLAINTIFF

/s/ Benjarnin P. Roach
NYEMASTER GooDE, P.C.

700 Walnut Street, Suite 1600
Des Moines, lA 50309
Telephone: 515-283-3100
Facsimile: 515-283-3108

E-mail: bproach@nyernaster.com

